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EXHIBIT 2

Declaration of Judy Rojo, the
Colony’s Tribal Chairman
MADDOX & CISNEROS, LLP

An Association of Professional Corporations

3230 S. Buffalo Drive, Suite 108

Las Vegas, Nevada 89117

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Norberto J. Cisneros, Esq. NV Bar No. 8782
Barbara M. McDonald, Esq., NV Bat No. 11651
MADDOX & CISNEROS, LLP
3230 S. Buffalo Drive, Suite 108
Las Vegas, Nevada 89117
Telephone: (702) 366-1900
Facsimile: (702) 366-1999
Aitorneys for Plaintiff
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
BARTELL RANCH LLC, ef ai, Lead Case:
Case No.: 3:21-cv-00080-MMD-CLB
Plaintiffs,
Consohdated with:
vs. Case No.: 3:21-cv-00103-MMD-CLB

ESTER M. MCCULLOUGH, eé al, DECLARATION OF

Defendants. JUDY ROJO
WESTERN WATERSHEDS PROJECT, e¢
a,

Plaintiffs,

vs.
UNITED STATES DEPARTMENT OF
THE INTERIOR, ef a/,
Defendants.

 

 

 

 

 

 
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I, JUDY ROJO, hereby declare as follows under penalty of perjury:

1. I am an enrolled member and Chairwoman of the Winnemucca Indian
Colony (“Colony” or “Tribe”).

2. The Colony is a federally recognized Tribe located in Winnemucca,
Nevada. The Colony consists of 28 membets whose ancestors detive from the Paiute
and Shoshone Nations.

3. The Colony has residents, members, and employees who possess ditect
religious and cultural connections to Thacker Pass, also sometimes known to us as
Peehee mu’huh, as our members practice ceremony there, hunt and gather there, and
plan on doing so in the future.

4. Our Tribal members practice the Sundance ceremony at or neat Thacker
Pass/ Peehee mu’huh evety year.

5. Our practice of the Sundance originates from the time when Wovoka, a
Paiute spiritual leader, shared the Paiute Ghost Dance to leaders in South Dakota and
returned with the Sundance, which incorporated our traditions.

6. The Sundance ceremony is a sacred prayer dance and tigorous ceremony
lasting ten days and requiring sacrifice and commitment.

7. On February 22, 2000, my close relative, Glen Wasson, was mutdered at
the Winnemucca Indian Colony, and since then, I have personally committed to
perform the Sundance every year with our other members, as the ceremony carries the
ptomise of healing through a demanding process of purification, sactifice and prayer.

8. The Sundance is a way of life for our members, a way of reaching through
seven generations back and forward for betterment.

9. To build the Thacker Pass Lithtum Mine on lands held sacred to our
membets would be like raping the earth and our culture.

10. In addition to the Sundance, Tribal members engage in vision quests at

or neat Thacker Pass/ Peehee mu’huh. A vision quest entails isolation and deep

 

 

 
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contemplation in the natural environment. Such vision quests are of important
teligious significance to Tribal members.

11. YFribal members also hunt deer, rabbit, and ground hogs at Thacker
Pass/Peehee mv’huh.

12. Tribal members also gather medicinal plants at Thacker Pass/Peehee
mu huh.

13. Thacker Pass/Peehee mu’huh is further sacred to us, as we believe our
ancestors were murdered there during an 1865 massacre.

14. The Federal Bureau of Land Management (“BLM”) did not provide the
Colony a reasonable opportunity to identify concerns about historic properties in
Thacker Pass/Peehee mu’huh, advise on the identification and evaluation of historic
ptoperties there, including those of traditional religious and cultural importance,
atticulate views on the Thacker Pass Lithium Mine Project’s (“the Project’s”) effects
on such propetties, or participate in the resolution of adverse effects as required by the
National Historic Preservation Act (NHPA) before the Thacker Pass Record of
Decision (“ROD”) and Plan of Operations (“POO”) was issued.

15. On April 14, 2021, Kathleen Rehberg, Humboldt River Field Office Field
Manager for BLM, sent me a letter, asking if the Colony considered any of the
atchaeological sites contained in the POO as having religious or cultural importance.

16. On April 19, 2021, I wrote a letter to Ms. Rehberg and expressed the
Colony’s opposition to the Project, at least until the Colony had the opportunity to
review and assess for ourselves the sufficiency of the data collected and operational
plans of the Project.

17. I further explained that our Colony had been actively working to reclaim
our trust lands, especially over the last three years, cleaning up massive amounts of
solid and hazardous waste that had accumulated over the past few decades on our trust

lands; that we were working to remove the three or more criminal drug enterprises

 

 

 
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operating on the Colony; and that meanwhile, we were initiating an economic
development plan in hopes of becoming financially self-sufficient.

18. I further stated to Ms. Rehberg that we were concerned about the fact
that surface water flowing through Water Canyon Creek over the past 40-50 yeats had
diverted and nearly dried up the drainage except duting snowmelt and active rain
storms; that groundwater had been pumped and diverted from Colony trust lands to
the City of Winnemucca, private irrigators, and other users; and that as the Project was
located between the Quinn River and Kings River, each of which were in out aboriginal
territory, we wete concerned about potential adverse impact from diversion.

19. My efforts to communicate with BLM occurred during a time that the
Colony was embroiled in a twenty-year long litigation with the BIA regarding lack of
setvices and funding to the Colony and our aforementioned efforts to remove criminal
drug enterprises on our Colony land.

20. As a result of lack of funding, the Colony does not have a Tribal
Resources Officer.

21. Today, I am further concerned about the effects of pollution of said
waters and its adverse impact on water serving the Colony.

22. J am also concerned about the effects of pollution on the sacred land
where we hold the Sundance, and the land where we hunt and gather medicinal herbs.

23. I further stated to Ms. Rehberg that the Colony was very concerned about
the protection and conservation of our aboriginal lands that are under the jurisdiction
and influence of the BLM. We believed there may be archaeological sites, religious and
traditional sites, and areas of cultural importance to our Colony that may be desecrated
or destroyed.

24. I further stated the Colony was concerned that BLM had not adequately
complied with its own Tribal Consultation Policy and Handbook, 1780-1, and mote

specifically with implementation of Environmental Protection Agency's Environmental

 
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Justice Program to include tribes and tribal members to effectively provide for
environmental and public health protection in Indian Country in areas of
Environmental Fustice.

25. I further stated that the Colony was sutptised and concerned that both
the BLM and the Nevada State Historic Preservation Office had approved the Historic
Properties Treatment Plan (HPTP) to mitigate impacts to archaeological sites in the
mine’s POO boundaty without any talks or discussion with the Colony. We were
concerned that Final Formatted LNC Thacket HPTP stated that consultation was held
with the Winnemucca Indian Colony beginning in 2017 and continued to date, as we
believed that it was not true, and that BLM or others had in fact not consulted with
the Winnemucca Indian Colony regarding the Project. I asked for dates and individual
names of anyone in the Colony or documents, positions taken, who may have
discussed this Project with BLM or its representatives.

26. OnJuly 14, 2021, because BLM did not respond to the Colony’s April 19
letter, I sent a letter, copying BLM, to Jean Prijatel, Manager in the Environmental
Review Branch, United States Environmental Protection Agency.

27. ‘Therein I repeated the concerns set forth in my April 19, 2021, letter to
the BLM.

28. If the Colony is provided a reasonable opportunity to consult with the
BLM about effects to Thacker Pass/Peehee mu’huh’s historic ptopetties, the Colony
will advise BLM about its concerns, including those herein stated. The Colony will
encourage BLM to allocate Thacker Pass/Peehee mu’huh to the “Conservation for
Future Use” and “Traditional Use” categories and to provide Thacker Pass/Peehee
muhuh with long-term preservation as described in BLM Manual 8110. 12 21.

29. If the Colony is provided a reasonable opportunity to participate in the
resolution of adverse effects to historic properties in Thacker Pass/Peehee mu’huh,

the Colony will help the BLM understand that gouging seven, 40-meter-long, several-

 

 

 
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, Suite 108
, Nevada 891417

3230 S. Buffalo Drive

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29. If the Colony is provided a reasonable Opportunity to participate in the

resolution of adverse effects to historic Properties in Thacker Pass/Peehee mu’huh,

‘|| the Colony will help the BLM undetstand that gouging seven, 40-meter-long, several-

metet-deep trenches and hand-digging as many as 525 holes into land hallowed by
the massacre of our ancestors and where we observe religious ceremonies severely
distespects our culture and traditions, causes us extreme emotional and spititual
distress, and is a desecration of the worst kind.

30. If BLM and Lithium Nevada still insist on disrespecting out traditional
ways, distressing us emotionally and spiritually, and desecrating lard we consider
sacred, the Colony will advise BLM on how to perform this desecration in. the most

sensitive manner possible. Because the desecration of Thacker Pass/Peehee mu’huh

is so imminent, the Colony is forced to seek telief, including preliminary relief, in

ordet to protect its interests in protecting historic properties the Colony attaches

religious and cultural significance to.

31. I swear under penalty of perjury that the foregoing is true and cortect to
the the best of my knowledge.
Dated this 10 th day of February, 2022.

puechegiarp

Judy Rojo

 

 
